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                       EXHIBIT 8
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                               1   LAWYERS’ COMMITTEE FOR CIVIL
                                   RIGHTS OF THE SAN FRANCISCO BAY AREA
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                               7
                                   Attorneys for Plaintiffs
                               8
                                   Additional Counsel Below
                               9
                                                                UNITED STATES DISTRICT COURT
                          10                                  NORTHERN DISTRICT OF CALIFORNIA
                          11                                         OAKLAND DIVISION

                          12       COALITION ON HOMELESSNESS; TORO                      CASE NO. 4:22-cv-05502-DMR
                                   CASTAÑO, SARAH CRONK, JOSHUA
                          13       DONOHOE, MOLIQUE FRANK, DAVID                        DECLARATION OF JOSEPH
                                   MARTINEZ, TERESA SANDOVAL,                           WILLIAMS IN SUPPORT OF THE
                          14       NATHANIEL VAUGHN                                     REPLY IN SUPPORT OF
                                                                                        PLAINTIFFS’ MOTION FOR
                          15                              Plaintiffs.                   PRELIMINARY INJUNCTION
                                             v.
                          16                                                            Judge:        The Hon. Donna M. Ryu
                                   CITY AND COUNTY OF SAN FRANCISCO,
                          17       SAN FRANCISCO POLICE DEPARTMENT,                     Hearing Date: December 22, 2022
                          18
                                   SAN FRANCISCO DEPARTMENT OF                          Time:         1:00 p.m.
                                   PUBLIC WORKS, SAN FRANCISCO                          Place:        Courtroom 4 – 3rd Floor
                          19       DEPARTMENT OF HOMELESSNESS AND                                     1301 Clay Street
                                   SUPPORTIVE HOUSING, SAN FRANCISCO                                  Oakland, CA 94612
                          20       FIRE DEPARTMENT, SAN FRANCISCO
                                   DEPARTMENT OF EMERGENCY
                          21       MANAGEMENT, LONDON BREED, in her
                                   official capacity as Mayor, SAM DODGE, in his
                          22       official capacity as Director of the Healthy
                                   Streets Operation Center (HSOC),
                          23
                                                         Defendants.
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     S A N F R A N C ISC O                                              CASE NO. 4:22-CV-05502-DMR
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     S A N F R A N C ISC O                                           CASE NO. 4:22-CV-05502-DMR
                                      Case 4:22-cv-05502-DMR Document 50-8 Filed 12/01/22 Page 4 of 5



                               1                            DECLARATION OF JOSEPH WILLIAMS

                               2        I, Joseph Williams, hereby declare pursuant to 28 U.S.C. § 1746:
                               3        1.       My name is Joseph Williams, and I am 52 years old. All facts set forth in this
                               4    declaration are based upon my personal knowledge, and, if called upon to testify as to the truth
                               5    of these facts, I could and would competently do so.
                               6        2.       I am a combat veteran. I have been unhoused for approximately five years and
                               7    have been actively searching for housing throughout that time. I have stayed in the Castro
                               8    district of San Francisco for most of this time.
                               9   Recent Harassment by the City and Property Destruction While Homeless
                          10            3.        I have suffered repeated harassment by SFPD and DPW over the past few
                          11        months. If anything, this harassment has only increased in the past three weeks. The City
                          12        has taken several tents from me in the last three weeks alone.

                          13            4.       SFPD and DPW are the only two departments that conduct these informal sweeps.

                          14        Normally, either DPW or SFPD will arrive sometime in the morning. They arrive without notice

                          15        and say, “Pack up. If you do not pack up in the next five minutes, we’re going to take your

                          16        stuff.”

                          17            5.       If you ask any questions, City workers will ask if you are refusing to cooperate

                          18        under a direct order. They double down on their threat that DPW will come and take your

                          19        belongings or you will be arrested.

                          20            6.       I have seen SFPD show up to a tent that was temporarily unoccupied, but clearly

                          21        unabandoned, and call DPW to throw the tent away. By the time the person came back,

                          22        everything was gone, and there was nothing anyone present at the site could do to protect this

                          23        person’s belongings.

                          24            7.       Around October 10, 2022, I was staying with friends on 17th and Hartford Streets,
                          25        in the Castro district. I was present as SFPD harassed a friend of mine, Kim, who is a

                          26        transgender woman in a wheelchair. SFPD and DPW took all of Kim’s belongings, including
                          27        her wheelchair. I asked why they had taken it, and they said it was because she had not claimed
                          28        it quickly enough; at the time, she was trying to get up so that she could go over to her
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     S A N F R A N C ISC O                                            CASE NO. 4:22-CV-05502-DMR
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                               1   wheelchair. The City had thrown it into the back of the DPW truck within two minutes. After

                               2   that, she had no way to walk or move around; eventually, I was able to purchase her a

                               3   new wheelchair.

                               4       8.            On Wednesday, November 16, 2022, I was staying on 3rd Avenue in the Castro

                               5   district. My granddaughter recently passed, and I went to my granddaughter’s funeral that day.

                               6   When I came back, my tent was gone. I knew DPW had taken it, because there was nothing

                               7   left—that is what DPW does. I had friends tell me it had been DPW that had come by and swept

                               8   the area.

                               9       9.            That day, I also lost a laptop, some speakers, clothes, some money, and tablets.

                          10       There was no effort to bag and tag any of my property, and I received no information on how
                          11       to retrieve it.
                          12       Reflections on the City’s Conduct

                          13           10.           It does not help when I am already homeless and they take all my belongings.

                          14       They leave me with nothing. When they take my vital survival belongings like my tent and

                          15       sleeping bag, I have to desperately search for a new sleeping bag or some kind of covering

                          16       before it gets dark and cold. This exposes me to the elements and leaves me at increased risk of

                          17       getting sick.

                          18           11.           It is almost like they are trying to make it illegal to be homeless in this city.

                          19           I have reviewed the information contained in this declaration. I declare under the penalties
                                       of perjury that the contents are true and correct to the best of my knowledge.
                          20
                                       Executed on: November 18, 2022
                          21

                          22                                                                 _________________
                                                                                             Joseph Williams
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     S A N F R A N C ISC O                                                CASE NO. 4:22-CV-05502-DMR
